37 F.3d 1502NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that no party may cite an opinion not intended for publication unless the cases are related by identity between the parties or the causes of action.
    Michael T. NELSON, Appellant,v.UNUM LIFE INSURANCE COMPANY OF AMERICA, Appellee.
    No. 94-1923NI.
    United States Court of Appeals,Eighth Circuit.
    Submitted:  Oct. 12, 1994.Filed:  Oct. 20, 1994.
    
      Before FAGG, Circuit Judge, ROSS, Senior Circuit Judge, and MAGILL, Circuit Judge.
      PER CURIAM.
    
    
      1
      This case has been submitted on the briefs.  Having considered the record and the parties' arguments, we conclude the magistrate judge's decision is clearly correct.  We thus affirm the district court.  See 8th Cir.  R. 47B.
    
    